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United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
BRUCE JOINER §
§
§
V. § CASE NO. 3:17»CV-2692-S
§
§
UNITED STATES OF AMERICA §
§

MEMORANDUM OPINION AND ORDER

Before the Court is Defendant United States of America’s (“Defendant”) Motion to

Dismiss [ECF No. 8]. For the following reasons, the Court grants the Motion.
I. BACKGROUND

Pursuant to Special Order 3-318, this case Was transferred from the docket of Chief Judge
Barbara M.G. Lynn to the docket of this Coui“t on Mareh 8, ZOIS. Plaintiff Bruce Joiner
(“Piaintift”) brought this lawsuit after being shot in the leg While Working as a security guard at
the “First Annual Muhammed Art Exhibit and Contest,” an event that took place at the Curtis
Cuiwell Center in Garland, Texas, on May 3, 2015. Cornpl. ilil l, 7, 40.

ln the mid~ZOOOS, the FBI began investigating Hassan Abu-Jihaad, Whorn they suspected
Was involved in terrorism~reiated activities Ia’. il 8. While Abu-Jihaad Was under surveillance,
the FBI noticed that he Was “socializ[ing] a lot” With Elton Simpson, a fellow member of the
lslamic Community Center of Phoenix (“ICCP”). ]d. 1] l l. In March 2007, the FBI arrested Abu-
Jihaad. Id. 11 12. lt then continued its investigation With Simpson as the main focus. ld.

The FBI recruited an informant to befriend Simpson. Id. ‘l§ 13. The informant recorded

conversations With Simpson and provided information to the FBI. [d. il 14. During the course of

 

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these recorded conversations, Sirnpson stated that he was interested in joining Al-Shabaab, a
terrorist organization, and provided the informant With details on how he planned to do so. Id. 11
15. The FBI ultimately arrested Simpson for lying to a federal agent, a crime for Which Simpson
served three years’ probation ld, il l6. After his arrest, Simpson befriended Nadir Soofi. Id. 1[
l7. Soofi gave Simpson a job, and Simpson moved into Soofr’s apartmentl Id. ‘[{ l8.

Around the time Soofl met Sirnpson, Soofr attempted to purchase a handgun from a gun
dealership in Arizona. Id. 1{ 19. Authorities allegedly initially placed a seven-day hold on the
transaction, but the hold was lifted after 24 hours. Id. When the hold was lifted, Sooti purchased
a 9~millimeter pistol. Ia’. For the next five years, Simpson and Soofi continued to live together.
ld. il 20. Another lCCP member, Abdul l\/lalik Abdul Kareein, moved in With them as well. Id.
The FBl investigated the trio in 2012 and found “several electronic documents linked to terrorism.”
Id.

On January 7, 2015, terrorists killed 12 people at the office of Charlie Hebdo, a French
satirical magazine, in retaliation for the magazine’s cartoon depictions of the prophet Muhammad.
Id. il 21. On January 17, 2015, an lslarnic group held a conference titled “Stand with the Prophet
in Honor and Respect,” at which opposition to cartoon depictions of l\/luharnmad was a central
focus. Id. The conference Was held at the Curtis Culwell Center in Garland. Ia'. Pamela Geller,
a free speech activist, organized a protest outside of the conference ]d. il 22. Then, Geller
announced that she would host a “Draw the Prophet” competition at the Curtis Culwell Center in
May 2015. Id. Geller’s conference generated press coverage, and Garland lndependent School
District, the owner of the venue, charged Geller’s group $l0,000 so that it could hire 40 extra

officers to work the event. ]d. il 23.

 

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Meanwhile, in March 2015, a South Carolina resident named Eric lamal Hendricks
allegedly began taking steps to form an lSlS cell within the United States. Id. ll 24. He used social
media to recruit new membersl Id. On March 24, 2015, an undercover FBl agent (“UCE-l”)
contacted I~lendricks on social media, posing as a person who was interested in joining the ISIS
cell. Id. il 24. After a vetting process, Hendricks determined that UCE-l was qualified to move
to the “next level.” Id. il 25. Hendricks told UCE-l that he was affiliated with ISIS and asked for
UCE-l ’s help in recruiting new members Ia'.

On April 23, 2015, Simpson discussed the upcoming Garland event in a series of tweets
with l\/lohamed Abdullahi Hassan, an lSlS member operating in Somalia. Id. jt 26. Hendricks
noticed Simpson’s tweets and reached out to Simpson to ask for his contact information Id. 11 27.
Simpson accused Hendricks of being a spy, and Hendricks instructed UCE»l to validate
Hendricks’s identity. Id. UCE~l contacted Simpson, and they ultimately began cryptically
discussing the possibility of “organizing.” Id. il 28.

On April 24, 2015, UCB-l and Simpson were chatting over social media Id. il 29.
Simpson shared a link about Gelier’s upcoming event, and the conversation proceeded as follows:

UCE ~l: Tear up Texas.

Simpson: Bro, u don’t have to say that. . . U know what happened in Paris. . . lthink.

..Yes or no. . .?
UCE-l: Right.
Simpson: So that goes without saying. . . No need to be direct.
Id. ti 30.
The week before Geller’s event, Simpson’s name appeared in a routine terrorism bulletin

that was sent to law enforcement agencies around the country Id. 11 32. On May l, 20l5,

 

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Hendricks talked to UCE-l about the upcoming event. Id. il 33. UCE-l reminded Hendricks that
Sirnpson was interested in the event. Id. They talked again the next day, and UCE-l volunteered
to go to the event because Hendricks could not attend. ]d. ‘[[ 34. Hendricks told UCE-l to “[s]ee
what you and bro [Simpson] can do” and added that Sirnpson “has another brother he knows.” Id.
Hendricks then gave Sirnpson’s alternate rl`witter contact information to UCE-l. Id.

The day of the event, May 3, 2015, UCE-l allegedly traveled to Garland to meet up with
Simpson. Ia’. 1i 35. According to Plaintiff, Simpson, Sooti, and UCE-l traveled together to the
Curtis Culwell Center in two separate cars. Id. Simpson and Soofi were in the lead car, and UCE-
l was following behind them. Id. Sirnpson and Soofr were wearing body armor and were equipped
with three assault rifles, three handguns, and l,500 rounds of ammunition Id.

At approximately 4:00 p.m., the FBI sent out an entail bulletin containing a list of suspected
extremists who were interested in the event. ld. il 36. Included in the bulletin were information
about Simpson’s general interest in the event, a photograph of Sirnpson, and a possible vehicle
license plate. Ia’. The Garland Police Department received the entail but reported that no one saw
it until after the attack had taken place. Id.

After the event started, UCE-l messaged Hendricks and told him that he was “in the
vicinity.” Ia'. 1[ 37. Hendricks asked UCE-l about the crowd, building, security, and media
presencel Ia’. Hendricks instructed UCE-l to wait until the attendees were outside to attack. Id.
UCE-l , Simpson, and Soof`r then approached the entrance to the rear parking lot. Id. il 38. Garland
Police Officer Gregory Stevens and Plaintiff were guarding the barricade at that entrance Id.
Plaintiff was unarmed and was responsible for checking the identification of those entering the

event. ld.

 

 

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Simpson pulled up to the police barricade and stopped Id. il 39. As Plaintiff walked up to
the vehicle to check the passengers’ identification, Simpson and Soofi jumped out of the vehicle
and opened fire on Stevens and Plaintiff. Id. Plaintiff was shot in the leg. Id. il 4(). Stevens
mortally wounded Simpson and Soofr, and a member of the SWAT team fatally shot them. Id.
UCE~l attempted to flee but was stopped by the Garland police, at which point he informed them
that he was an FBI agent let il 41.

On May 5, 2015, ISIS claimed responsibility for the Garland attack. Id. il 44. That same
day, Hendricks reached out to UCE-l via social media to discuss the attacks Id. il 46. Over the
next week, the two men allegedly continued to communicate online. ld. il 47.

For the above actions, Plaintiff brought suit against the United States pursuant to the
Federal Tort Claims Act (“FTCA”) and the Anti-Terrorism Act (“ATA”). lie hinges his theories
of the United States’ liability on the doctrines of respondeat superior, vicarious liability, civil
conspiracy, and aiding and abetting Plaintiff brought causes of action for assault, international
terrorism, negligence, and intentional infliction of emotional distress The latter two claims are in
the alternative The United States moved to dismiss the action for lack of subject-matter
jurisdiction or, in the alternative, for failure to state a claim.

II. THE RULE IZ(b){I) STANDARD

“l?ederal courts are courts of limited jurisdiction, and absent jurisdiction conferred by
statute, lack the power to adjudicate claims.” Siockman v. Fed. Electz'on Con'mr ’n, 138 F.3d 144,
15l (5th Cir. 1998). Dismissal for lack of subject-matter jurisdiction is warranted when “it appears
certain that the plaintiff cannot prove any set of facts in support of his claim that would entitle
plaintiff to relief.” Gilbert v. Donahoe, '751 F.3d 303, 307 (Sth Cir. 2014) (quoting Rammr`ng v.

United Smfes', 281 F.3d 158, 161 (Sth Cir. 2001)). “Lack of subject matter jurisdiction may be

 

 

 

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found in any one of three instances: (1) the complaint alone; (2) the complaint supplemented by
undisputed facts evidenced in the record; or (3) the complaint supplemented by undisputed facts
plus the court’s resolution of disputed facts.” Rammz`ng, 281 F.3d at 161. When a defendant
mounts a facial attack to the pleadings courts look to the sufficiency of the allegations in the
complaint, which are presumed to be true. See Paterson v. Weinberger, 644 F.2d 521, 523 (5th
Cir. 1981). When a defendant mounts a factual attack, by contrast, the defendant submits
affidavits, testimony, or other evidentiary materials Williamson v. Tucker, 645 F.2d 404, 4l3 (Sth
Cir. 1981). The presumption of truthfulness does not attach to plaintiff’ s allegations “and the
existence of disputed material facts will not preclude the trial court from evaluating for itself the
merits of jurisdictional claims.” Id.
III. ANALYSIS
A. Subject-Matter Jurisdiction - FTCA

The United States is immune from suit absent its consent, and the terms of that consent
define a court’s jurisdiction over claims brought against the United States. See United Smfes v.
Mitchell, 445 U.S. 535, 538 (1980). Absent a specific waiver, sovereign immunity prevents a court
from exercising subject-matter jurisdiction over a case. See FDIC v. Meyer, SlO U.S. 471, 475-
76 (1994). The FTCA contains a limited waiver of sovereign immunity. 28 U.S.C. § l346(b)(l).
Courts “strictly construe such waivers, resolving all ambiguities in favor of the sovereign.” Parel
v. United States, 398 F. App’x 22, 27 (5th Cir. 201{)). The FTCA’s waiver is subject to several
exceptions, which are set forth in 28 U.S.C. § 2680. One such exception is the discretionary
function exception, which bars “{a]ny claim . . . based upon the exercise or performance or the

failure to exercise or perform a discretionary function or duty on the part of a federal agency or an

 

 

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employee of the Government, whether or not the discretion involved be abused.” 28 U.S.C. §
2680(a).

Courts use a two-part test to determine whether the discretionary function exception bars a
particular claim. First, the court asks whether the act “involv[es] an element of judgment or
choice.” United Stcztes v. Gcmbert, 499 U.S. 315, 322 (1991) (quoting Berkovz'tz v. United States,
486 U.S. 531, 536 (1988)). in answering this question, courts look to whether a “federal statute,
regulation or policy specifically prescribes a course of action for an employee to follow.” Id. lf it
does, “the employee has no rightful option but to adhere to the directive,” and there is no element
of judgment or choice. Id. Second, the court must determine whether the “judgrnent is of the kind
that the discretionary function was designed to shield.” Ia'. at 322-23. The exception only protects
“actions and decisions based on considerations of public policy.” ]d. at 323 (quoting Berkovirz,
486 U.S. at 537). “The focus of the inquiry is not on the agent’s subjective intent in exercising the
discretion conferred by statute or regulation, but on the nature of the actions taken and on whether
they are susceptible to policy analysis.” Ia’. at 325‘, see also Sports v. United Smtes, 613 F.3d 559,
572 (5th Cir. 2010) (noting that proper inquiry is not whether agent “in fact engaged in a policy
analysis when reaching his decision but instead whether his decision was ‘susceptible to policy
analysis”’ (quoting Ganbert, 499 U.S. at 325)).

“To state a claim under the FTCA, a plaintiff has the burden of stating a claim for state-
law tort and establishing that the discretionary function exception does not apply.” Spotfs, 6l3
F.3d at 569 (citing Sr. Tammany Par. ex ref. Davfs v_ Fed. Emergency Mgmt. Agency, 556 F.3d
307, 315 n.3 (Sth Cir. 2009)). if the plaintiff fails to carry this burden, the court lacks subject-

matter jurisdiction See Buchanan i). United Stares, 915 F.Zd 969, 970 (5th Cir. 1990).

 

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i. Whether the Act Involves rm Element ofJudgment or Choice
a. The Undercover Operation

Plaintiff takes issue with several ofUCE-l ’s and the FBl’s actions and decisions, including
UCE-l ’s “tear up Texas” comment, texts to Hendricks reassuring him that UCE-l was armed, and
photographing of Plaintiff before the shooting All of these decisions are related and were
undertaken pursuant to UCE-l’s undercover investigation, so the Court Will consider them
together Plaintiff argues that two FBI policies_the Attorney General’s Guidelines on FBl
Undercover Operationsl (“Undercover Guidelines”) and the FBI Domestic lnvestigations and
Operations Guide2 (“DlOG”)_specifically provide courses of action that the FBI failed to follow.
The Court disagrees for two reasons First, both policies identified by Plaintiff involve at least an
element of judgment or choice. Second, Plaintiff ignores a third policy, the National Security
Undercover Operations Policy Guide (“NSUCOPG”), that “specitically applies to the operational
conduct of F BI undercover activity in the context of a national security investigation.” Def.’s App.
41.

As Matthew J. Desarno’s3 Declaration notes, “FBl policies allow investigative personnel
Wide discretion to determine the operational details of how to conduct an investigation.” Def.’s
App. 40. Plaintiff contends however, that UCE-l exceeded his discretionary authority by

participating in Simpson’s and Soofi’s violent acts, including inciting Simpson by sending the

 

l UNDERCOVER & SENSlT[\/E OPERA'I`[ONS UN|T, ATTORNEY GENERAL,’S GUIDELlNES ON FBl UNDERCOVER
OPERAT!ONS (1992), https://www.justice.gov/archives/ag/undercover-and-sensitive-operations-unit~attomey-
generals-guidelines-fbi-undercover-operations#preparation {hereinafter UNDERCOVER GUIDEI,INES].

2 FBI Doivlnsrlc leEsTloATloNs AND OPERATloNs Guioe § 17 (2013), https://'vault.ibi.gov/
FBl%ZODoinestic%Z{)lnvestigations%20and%200perations%20Guide%20(DIOG)/tbi~domestic-investigations-and-
operations-guide-diog-20l 3-version/FB1%20Domestic%20lnvestigations%ZOand%20 Operations%ZOGuide%ZG
(DIOG)%ZOZO13%20Version%20Part%2001%200f%2001/view {hereinafter DIOG].

3 Desarno was, at the time of the Declaration’s filing, the Acting Assistant Director, Countelterrorism Division of the
FBl.

 

 

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“tear up Texas” message, reassuring Hendricks that he was armed at the event, accompanying
Soofi and Simpson to the event, and conducting reconnaissance at the event. Resp. '7-8.

“The Undercover Guidelines grant the FBI broad discretion in conducting undercover
operations.” Sufe)' v. United Stm‘es, 44l F.3d 306, 3 ll (4th Cir. 2006). Plaintiff specifically points
to Section lV.A(2)4 of the Undercover Guidelines, which requires that “[w]hen an undercover
employee learns that persons under investigation intend to commit a violent crime, he or she shall
try to discourage the violence.” Resp. 7 (quoting UNDERCOVBR GUlDELINES § Vl.A(2)). While
this section.contains the mandatory term “shall,” the Supreme Court has held that the discretionary
function exception requires only an element of judgment or choice Gaubert, 499 U.S. at 322; see
also Patel, 398 F. App’x at 29 (“Despite the policy statement’s mandate that certain information
‘shall’ be included, the directive includes an ‘element’ of discretion . . . .”). Here, the relevant
section of the Undercover Guidelines contains multiple discretionary elements; namely, the
determination of when someone intends to commit to a violent crime, what constitutes a violent
crime, and how and when to “try” to discourage the violence CfGonzalez v. United Srares, 814
F.3d 1022, 1029 (9th Cir. 20l6) (finding FBI’s decision not to disclose information involved
discretion because “[t]he [Attorney General’s] Guidelines provide no criteria for determining what
. . . constitutes ‘serious criminal activity”’).

Plaintiff next points to two provisions of the DIOG that he contends mandated a certain
course of action for the FBI and/or UCE-l to follow. First, he points to section l7.1, which defines
“Otherwise Illegal Activity” as “conduct . . . which constitutes a crime under local, state, or federal
law if engaged in by a person acting without authorization.” “Certain types of [Otherwise lllegal

Activity] cannot be authorized, such as . . . participation in an act of violence” DlOG § l7.l.

 

“ lt appears that Plaintiff intended to refer to § Vl.A(Z), which contains the cited language

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Next, Plaintiff points to section l7.5(2), which states, “Participation in otherwise illegal activity
that involves a significant risk of violence or physical injury requires authorization . . . .”5 Sections
l7.1 and 17.5(2) contain elements of discretion An agent must determine what constitutes a
“significant risk of violence or physical injury.” Further, Plaintiff has alleged neither that UCE-
l’s conduct would constitute a crime, nor that UCE-l lacked authorization even if his conduct
would constitute a crime See Resp. 8 (“If such authorization was lacking, UCE-l ’s actions do not
fall under the discretionary function exception.” (emphasis added)). Finally, as to the requirement
that participation in acts of violence may not be authorized, there are elements of discretion The
relevant authority must determine what conduct amounts to “participation” and what constitutes
an “act of violence.”

Plaintiff contends that, even if UCE-l and the FBl had discretionary authority, they
exceeded the scope of that authority and violated agency policy. The Court disagrees “FBI
policies allow investigative personnel wide discretion to determine the operational details of how
to conduct an investigationl,j” including “how to communicate and interact with subjects of
investigation [andl whether and when to take overt law enforcement action.” Def. ’s App. 40. The
Court finds that the conduct alleged by Plaintiff falls within the scope of the discretionary authority
conferred on the FBI by the Undercover Guidelines and the DlOG.

In his Complaint, Plaintiff also argues that the FBI failed to alert local law enforcement to
the possibility of an attack. However, he points to no governing statute, regulation, or policy.
And, he does not address the issue in his Response. “The FBl’s judgment about how to respond

to a reported threat and how extensively to disclose information to other law enforcement

 

5 This section comes from the 2011 version of the DIOG. The Court assumes that the 2013 version would be more
relevant to conduct occurring in 20l5. However, the Court will consider Plalntiff`s argurnent, as it does not change
the Court’s ultimate conclusion

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organizations implicates many risks, all of which must be weighed in accordance with the FBI’s
social and public policy judgments.” Gonzales, 814 F.3d at 1033. The governing policies
identified by the United States, including Policy Directive 0012[) and DIOG § 14.5, reflect this
need for judgment and contain elements of discretionl See Def.’s App. 42-43.

Moreover, Plaintiff failed to address the NSUCOPG, which “functions as a standalone
policy” and “applies to the operational conduct of FBI undercover activity in the context of a
national security investigation.” Def.’s App. 41; see also DIOG § 173 (carving out “[Otherwise
lllegal Activity] by an FBl employee in an undercover operation . . . relating to a threat to the
national security” and noting that such activity is governed by Attorney Gencral’s Guidclines for
Domestic FBi Operations and the NSUCOPG). The NSUCOPG, like the Undercover Guidelines
and the DIOG, “does not contain any provision directing the particular operational manner in
which the undercover technique should be carried out, including how a UCE is to interact and
communicate with subjects of investigation, sources of information, and other individuals” and
thus leaves room for judgmentl Def.’s App. 41.

For the foregoing reasons, the Court finds that the policies identified by Plaintiff, along
with the NSUCOPG, contain elements of discretion and that the FBI acted within the scope of that
discretionary authority. Thus, the first prong of the Gauberr analysis is satisfied with regard to the
conduct of the undercover operation and UCE-l ’s actions leading up to and during the incident in
Garland.

b. The Gun Sale

Next, Plaintiff contests the FBI’s conduct in lifting a hold on the sale of a handgun to Soofi.

Plaintiff argues that the FBI had no discretion to approve the sale, as 18 U.S.C. § 922 and 28 C.F.R.

§ 25.6(c)(l)(iv)(C) specifically provide a course of action that the FBl failed to follow. The Court

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disagrees When a dealer submits a potential purchaser’s information to the FBl’s National lnstant
Criminal Background Check System (“NlCS”), the NlCS Operations Center provides the dealer
with one of three responses Under l8 U.S.C. § 922(d), it is unlawful to sell any firearm to certain
classes of people. lf the potential purchaser belongs to one of these classes, the Operations Center
will issue a “Denied” response 28 C.F.R. § 25.6(c)(l)(iv)(C). lf NICS finds a record that needs
more research, the Operations Center will issue a “Delayed” response. Ia'. § 25.6(c)(1)(iv)(B).
The sale cannot be completed unless either the Operations Center sends a “Proceed” response or
three business days expire without a response Id. lleCS finds no disqualifying information, the
Operations Center will issue a “Proceed” response. Id. § 25.6(c)(l)(iv)(A).

Piaintiff argues that three subsections of § 922(d) rendered it unlawful for the FBI to lift
the hold on the sale of the handgunl Subsection (1) prohibits selling a firearm to someone who “is
under indictment for, or has been convicted in any court of, a crime punishable by imprisonment
for a term exceeding one year.” Plaintiff does not allege that Soofi was under indictment for or
has been convicted of such a crime. lndeed, the article he cites to support his argument that Soofi
had been charged in “about 20 court cases” belies his argurnent.6 ".|:hat article discusses Soofi’s
convictions in Utah and notes that the convictions were for Class B misdemeanors, which carry a
maximum sentence of six months Dobner, supra note 6; UTAH CODE ANN. § 76»3~2()4(2). Thus,
Plaintiff does not plausibly allege that Soofi’s purchase was prohibited by subsection (l).
Subsection (9) prohibits selling a firearm to someone who has been convicted of a misdemeanor
crime of domestic violence. Plaintiff does not allege that Soofi has been convicted of such a crime.
Therefore, the Complaint provides no support for the notion that Soofi’s purchase was prohibited

by subsection (9).

 

6 Jennifer Dobner, Texc:s Gtmmcm Affended U. of U. nom '98 to ’03, SAL,T LAKE TRIB. (May 5, 2035),
http://archive.sltrib.com/article.php?id=2479l G9&itype=C1\/ISID.

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Finally, subsection (3) prohibits selling a firearm to a person who is an “unlawful user of
or addicted to any controlled substance.” While Soofi’s criminal record does contain drug-related
charges, the definition of “unlawful user” contains ample room for discretion 28 C.F.R. § 478. ll
defines “unlawful user of or addicted to any controlled substance” as “[a] person who uses a
controlled substance and has lost the power of self-control with reference to the use of [a]
controlled substance; and any person who is a current user of a controlled substance.” Under this
definition, “there must be some regularity of drug use in addition to contemporaneousness [with
the possession of a firearm].” United Stares v. Patrerson, 431 F.3d 832, 839 (Sth Cir. 2005).
Determining whether a person is using drugs “regularly” or “has lost the power ot` self-control”
requires the exercise of discretion And, Plaintiff"s allegations do not indicate that the FBI
exceeded the scope of this discretion

Finally, Plaintiff argues that, in 2004, the Department of Justice began checking
prospective gun purchasers against the FBl’s terrorist watchlist. Resp. 11 (citing WILL|AM J.
KROUSE, CONG. RESEARCH SERV., RL330111, TERRoRisT SCREENING AND BRADY BACKGROUND
CHECKS FOR FIREARMS 12 (2007)). A match in the terrorist database triggers an automatic 72-
hour delay in approving the sale Id. at 11-12 (citing Eugene Kiely & Robert Fariey, Suspecred
Terrorists and Guns, FACTCHECK.ORG (June 20, 2016), https://www.factcheck.org/
2016/06/suspected-teirorists-and-guns/). Thus, Plaintiff contends, the FBI’s decision to lift the
hold on Soofi’s purchase after only 24 hours was “highly unusual.” Resp. 1 l. Plaintiff"s argument
is missing a critical component-he does not allege, either in his Complaint or in his briefing on
the l\/iotion to Dismiss, that Soofi Was on the terrorist watchlist when he purchased the gun.
Further, Plaintiff alleges only that the FBI “typically” uses the entire 72»hour window to

investigate Resp. 12 (citing Kiely & Farley, supra). Plaintlt`f does not allege that the policy

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prohibited the FBl’s lifting of the hold after 24 hours. Thus, the Department of .lustice’s policy is
irrelevant Even if it were relevant, there is no indication that the FBl violated the policy.

For the foregoing reasons, much of the FBl’s alleged conduct in authorizing the handgun
sale did not violate the relevant statute or policy. Those acts that may be covered by the statute
involve an element of judgment or choice, and the FBl acted within the scope of its discretionary
authority. Thus, the Court finds that the first prong of the Gaubert analysis is satisfied with respect
to the FBI’s alleged decision to lift the hold on the gun sale.

ii. Whether the Decision Is Susceptible to Public Policy Analysis

“lE]ven assuming the challenged conduct involves an element of judgment, it remains to
be decided whether that judgment is of the kind that the discretionary function exception was
designed to shield.” Gaubert, 499 U.S. at 322-23 (internal quotation marks and citation omitted).
For the following reasons, the Court finds that the judgments at issue in this case were “based on
considerations of public policy.” lot at 323 (quoting Berkovitz, 486 U.S. at 537).

a. The Undercover Operation

The Court finds that the FBI’s decisions during UCE-l’s undercover investigation are
susceptible to public policy analysis and, therefore, are protected by the discretionary function
exception. This case is highly analogous to Georgia Casualty & Strrely Co. v. United Srares, 823
F.2d 260 (Sth Cir. 1987). ln that case, the Eighth Circuit first noted that “[ajn undercover operation
constitutes a ‘perrnissible means of investigation.”’ Id. at 263 (quoting United Smres v. Russell,
41 1 U.S. 423, 432 (l973)). The court went on to note that, “in developing a strategy” to apprehend
the targets of the undercover investigation “the FBI had to weigh the public concern for reducing
widespread criminal activity against the harm to innocent victims resulting from a covert

operation.” ]d. Ultimately, the court held that the decision was susceptible to policy analysis

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because “[t]he FBI’s decision to maintain secrecy . . . involved the balancing of policy
considerations protected by the discretionary function exception.” Id.

The same logic applies here ln developing a counterterrorism strategy, the FBI
presumably weighed the public concern for reducing terroristic threats against the harm to innocent
victims, such as Plaintiff, resulting from the undercover operation and the actions taken pursuant
to such operationl The actions of which Plaintiff complains were integral to the undercover
operation because of the need to maintain UCE~l’s undercover identity. See Suter, 441 F.3d at
311-l2 (“The FBI’s decision whether, as part of its investigation, to participate in criminal activity
. . . ‘is one which we would expect inherently to be grounded in considerations of public policy.”’
(quoting Baum v. United States, 986 F.2d 7l6, 721 (4th Cir. 1993))). Accordingly, the Court finds
that the FBl’s contested decisions involved the balancing of policy considerations protected by the
discretionary function exception

“Of the legion of governmental endeavors, perhaps the most clearly marked for judicial
deference are provisions for national security and defense.” Tl`jj”any v. United States, 931 F.2d
271, 277 (4th Cir. 1991). An FBI counterterrorism investigation undoubtedly involves myriad
considerations of national security policies. While Plaintiff points to the ‘°intense scrutiny of
Congress” after the attack to argue that the FBI’s actions were not the type that Congress intended
to shield, Plaintiff cites to no precedent standing for the proposition that Courts should consider
reactions to conduct, rather than the nature of the conduct itsele Resp. 15. in fact, the discretionary
function exception shields conduct “whether or not the discretion involved be abused.” 28 U.S.C.
§ 2680(a). At most, Plaintiff’s argument could suggest that the FBI abused its discretion lt does
not render the discretionary function exception inapplicable to the instant case For this additional

reason, the Court finds that the FBI’s decisions during the undercover investigation are susceptible

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to public policy analysis Because both prongs of the Gauberr analysis are satisfied, the Court
finds that Plaintiff has failed to carry his burden of showing that the discretionary function
exception does not apply. The discretionary function exception bars Plaintiff’s claims relating to
the undercover operation
b. The Gun Sale

“{ljf a regulation mandates particular conduct, and the employee obeys the direction, the
Government will be protected because the action will be deemed in furtherance of the policies
which led to the promulgation of the regulation.” Gaubert, 499 U.S. at 324 (citing Dalehz'te v.
United Stafes, 346 U.S. l5, 36 (l 953)). Here, Plaintiff has not plausibly alleged that the FBI did
not obey the directives set out in 18 U.S.C. § 922. He simply argues that the decision to lift the
hold after 24 hours was “highly unusual.” Resp. 1 l. This allegation is insufficient to show that
the FBI deviated from the statutory directive For the reasons discussed above, there was no
apparent reason for the FBl to issue a “Denied” response lf, as seems likely from Plaintiff`s
allegations, the FBI issued a “Delayed” response, the agency could lift the hold after appropriately
researching Soofi’s NICS record. There is no requirement that the Operations Center utilize the
entirety of the maximum 72-hour hold. Further, to the extent that there was room for discretion,
the Court finds that the decision to lift the hold is susceptible to public policy analysis Thus, the
Court finds that the FBI’s conduct in lifting the hold on the gun sale is protected by the
discretionary function exception

iii. Due Process

Plaintiff argues that, even if Defendant has satisfied the Gauberr test, Defendant has

committed a constitutional violation and thus cannot avail itself of the discretionary function

exception See Loumier v. United States, 828 F.3d 935, 943 (D.C. Cir. 2016) (“{T]he FTCA’s

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discretionary-function exception does not provide a blanket immunity against tortious conduct that
a plaintiff plausibly alleges also flouts a constitutional prescription.”). But, the Fifth Circuit has
not decided this issue. See Spotrs, 6l3 F.3d at 569 (“[The Fifth Circuit] has not yet determined
whether a constitutional violation . . . precludes the application of the discretionary function
exception.” (citing Castro v. United Sfates, 608 F.3d 266 (5th Cir. 2010))).

Even if the Court were to assume that a constitutional violation precludes application of
the discretionary function exception, Plaintiff has failed to allege a constitutional violation.
' Plaintiff relies on the “state-created danger” theory to argue that Defendant violated the Due
Process Clause. See, e.g., Hm't v. Cizfy ofLr`rtle Rock, 432 F.3d 801, 805 (8th Cir. 2005) (explaining
state-created danger theory). However, Plaintiff states that “the fifth Circuit ‘has consistently
side-stepped the question of whether to adopt’ the state-created danger theory.” Resp. l3 (internal
quotation omitted); see also Dz`xon v. Alcorn Cly. Sch. Dist., 499 F. App’x 364, 366 (5th Cir. 20l2)
(“[Tlhis Court has consistently refused to adopt the state-created danger theory . . . .”). Without
further guidance from the Fifth Circuit, this Court declines to adopt the theory in the instant case
Therefore, the Court finds that Plaintiff has not alleged a constitutional violation under binding
precedent that would remove the instant case from the ambit of the discretionary function
exception

B. Subject-Matter Jurisdiction _ATA

The Court also does not have subject-matter jurisdiction over Plaintiff’ s ATA claims First,
Plaintiff cannot rely on the FTCA to allege a cause of action under the ATA because “the FTCA
was not intended to redress breaches of federal statutory duties.” Johnsorz v. Sawyer, 47 F.3d 716,
727 (5th Cir. 1995) (en banc) (quoting Sellfors v. United Stares, 697 F.2d 1362, 1365 (llth Cir.

1983)). Second, Plaintiff cannot bring an independent ATA action because Congress has not

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waived sovereign immunity for alleged violations of the ATA. Nonetheless, Plaintiff argues that
the Geneva Convention7 precludes Congress from retaining sovereign immunity for claims against
the United States for violations of the ATA. This Court declines to find that the Geneva
Convention preempts Congress’s retention of sovereign immunity. “A waiver of the Federal
Govemment’s sovereign immunity must be unequivocally expressed in statutory text . . . and will
not be implied.” Lewz`s v. Hunt, 492 F.3d 565, 570 (5th Cir. 2007) (quoting Lane v. Pena, 518 U.S.
187, 192 (1996)). There is no language in the ATA indicating congressional intent to waive
sovereign immunity. Rather, section 2337 of the ATA explicitly states that “[n]o action shall be
maintained under section 2333 of this title against . . . the United States.” 18 U.S.C. § 2337(1).
The Court declines Plaintiff’s invitation to find section 23 37(1) unconstitutional See Resp. 24.
C. Discovery Request

Plaintiff requests that the Court delay ruling on a motion to dismiss until the Court permits
Plaintiff to conduct discovery on issues pertaining to the discretionary function exception The
party seeking discovery bears the burden of showing its necessity. Freeman v. United States, 556
F.3d 326, 341 (Sth Cir. 2009). Typically, the party seeking discovery meets this burden by alleging
the “specific facts crucial to immunity which demonstratte a need for discovery.” Id. at 342
(quoting Kelly v. Syria Shell Perrol. Dev. B. V, 213 F.3d 841, 852 (5th Cir. 2000)). A party is not
entitled to jurisdictional discovery if the requested discovery is not likely to produce the facts
necessary to withstand a Rule 12(b)(1) motion Williamson v. U.S. Dep 't ongric., 815 F.2d 368,
382 (Sth Cir. 1987). “This is particularly true Where the party seeking discovery is attempting to
disprove the applicability of an immunity-derived bar to suit; immunity is intended to shield the

defendant from the burdens of defending the suit, including the burdens of discovery.” Sailboar

 

7 Geneva Convention (lV) Relative to the Protection of Civilian Persons in Time of War, Aug. 12, l949, 6 U.S.T.
35l6, 75 U.N.T.S. 287.

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BayApts., LLC v. United Sta)‘es, Civ. A. No. 14-2344, 2015 WL 2250114, at *6 (E.D. La. l\/lay 13,
2015) (citingArriba er. v. Pelrdler)s Mexicanos, 962 F.2d 528, 534 (5th Cir. 1992)).

Here, Plaintiff contends that discovery would help determine whether an FBI agent assisted
Simpson and Soofi in obtaining the weapons used in the attack, whether the FBI “allowed” the
weapon that injured Plaintif`f to be sold unlawfully to the terrorists, whether UCE-l received
authorization to engage in “Otherwise illegal Activity,” and to what extent UCE-l coordinated
with the terrorists in relation to the attack. Resp. 5. As to the first point, the Complaint never
suggests that an FBI agent assisted Simpson and Soofi in obtaining weapons, and the Court
declines to permit discovery on a theory that appears to be based on speculation As to the other
three points, the Court finds, based on its analysis above, that the requested discovery could not
“reasonably be expected to reveal” conduct outside of the discretionary function exception See
Mesa v. United Srates, 123 F.3d 1435 , 1439 (1lth Cir. 1997). Therefore, the Court denies
Plaintiff”s request for jurisdictional discovery.

D. F ailure to State a Claim

Because the Court lacks subject-matter jurisdiction over the instant action, it does not reach

Defendant’s alternate motion to dismiss for failure to state a claim.
IV. CONCLUSION

For the foregoing reasons, the Court grants Defendant’s l\/Iotion to Dismiss without

prejudice for lack of subject-matter jurisdiction8

S() ORDERED.

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KAREN GREN sCHoLER
curran sTATEs i)lsTRIcT JUDGE

 

 

3 See Hi'x v. U.S. Army Corps. ofEng’rs, 155 F. App’x 121, 128 (Sth Cir. 2005) (dismissal for lack of subject-matter
jurisdiction based on discretionary function exception should be without prejudice).

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